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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                                      CASE NO.

   FIRST NBC BANK HOLDING
   COMPANY                                                                     17-11213
                                                                               SECTION A

   DEBTOR                                                                      CHAPTER 11


                                                ORDER

          On December 4, 2018, a hearing on First NBC Bank Holding Company’s First Amended
   Disclosure Statement (P-461), came before this Court and was converted to a status conference.

   Appearances were made by:

            Kimberly Cohen, counsel for the U.S. Bank as Indentured Trustee;
            Christopher T. Caplinger, counsel for lead plaintiffs in Securities Class Action;
            Barbara B. Parsons, counsel for NBC Bank Holding Company (“Debtor”);
            William E. Steffes, counsel for NBC Bank Holding Company (“Debtor”);
            Jamie Cangelosi, counsel for Committee of Unsecured Creditors
            Amanda B. George, counsel for U.S. Trustee;
            Jeffrey D. Sternklar, counsel for the Official Committee of Unsecured Creditors.

          IT IS ORDERED that all of the above proceedings be continued to January 31, 2018 at
   10:00 A.M. at 500 Poydras Street, Suite B-709 New Orleans, Louisiana.

            New Orleans, Louisiana, December 4, 2018.



                                                         Hon. Elizabeth W. Magner
                                                         U.S. Bankruptcy Judge
